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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                          :
                                                :
MICHA L. RICH,                                  :     CASE NO. 22-52126
                                                :
                                                :     CHAPTER 13
                                                :
                    Debtor(s).                  :      JUDGE JWC
                                                :
                                                :
                                                :
MICHA L. RICH, et al.                           :
                                                :
                    Movant(s),                  :
                                                :
vs.                                             :
                                                :
GEORGIA, et al.                                 :
                                                :
                                                :
                    Respondent(s).              :
                                                :


          NOTICE OF MOTION TO APPROVE SETTLEMENT AGREEMENT,
                        DEADLINE TO OBJECT AND HEARING
        MICHA L. RICH has filed a MOTION TO APPROVE SETTLEMENT AGREEMENT
on May 5, 2023. Pursuant to Second Amended and Restated General Order No. 24-2018,
the Court may consider this matter without further notice or a hearing if no party in
interest files a response or objection within twenty-one (21) days, from the date of
service of this notice. If you object to the relief requested in this pleading, you must
timely file your objection with the Bankruptcy Clerk at Richard B. Russell Federal
Building, United States Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA 30303, and serve
a copy on the movant’s attorney, Seth J. Meyerson, Meyerson Law, 820 Ebenezer Church
Road, Ste. 105, Sharpsburg, GA, 30277, and any other appropriate persons by the
objection deadline. The response or objection must explain your position and be actually
received by the Bankruptcy Clerk within the required time.
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        A hearing on the pleading has been scheduled for June 6, 2023. The Court will hold a
hearing on the MOTION TO APPROVE SETTLEMENT AGREEMENT at 10:20 A. M. on June
6, 2023, in Courtroom 1203, U.S. Courthouse, 75 Ted Turner Drive, SW Atlanta, GA, which
may be attended in person or via the Court’s Virtual Hearing Room. You may join the Virtual
Hearing Room through the “Dial-in and Virtual Bankruptcy Hearing Information” link at the top
of the homepage of the Court’s website, www.ganb.uscourts.gov, or the link on the judge’s
webpage, which can also be found on the Court’s website. Please also review the “Hearing
Information” tab on the judge’s webpage for further information about the hearing. You should
be prepared to appear at the hearing via video, but you may leave your camera in the off position
until the Court instructs otherwise. Unrepresented persons who do not have video capability may
use the telephone dial-in information on the judge’s webpage.

        If an objection or response is timely filed and served, the hearing will proceed as scheduled.
If you do not file a response or objection within the time permitted, the Court may grant the
relief requested without further notice and without holding the scheduled hearing provided
that an order approving the relief requested is entered at least one business day prior to the
scheduled hearing. If no objection is timely filed, but no order is entered granting the relief
requested at least one business day prior to the scheduled hearing, the hearing will be held as
scheduled.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. If you do not have an attorney,
you may wish to consult one.


Dated: May 5, 2023.                                    /s/ Seth J. Meyerson
                                                      Seth J. Meyerson,
                                                      Meyerson Law
                                                      Georgia Bar No. 583918
                                                      820 Ebenezer Church Road, Ste. 105
                                                      Sharpsburg, GA 30277
                                                      678.892.5910
                                                      Attorney for Movant




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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DISTRICT


                                                  {
 IN RE:                                           {            CHAPTER 13
                                                  {
 Micha L Rich                                     {            CASE NO. 22-52126-jwc
   Debtor                                         {
                                                  {

                    MOTION TO APPROVE SETTLEMENT AGREEMENT

        COMES NOW Debtor, pursuant to Bankruptcy Rule 9019, and respectfully requests
Approval of Settlement Agreement (“Agreement”).

                                                   1.

        Debtor filed for Chapter 13 Bankruptcy relief on March 17, 2022.

                                                      2.

        On July 27, 2022, Debtor filed an application to employ the law firm of Bondurant Mixson &
Elmore LLP (“Special Counsel”) for representation in adversarial matters relating to an EEOC claim
(the “Matter”). On August 17, 2022, an Order was issued granting the use of Special Counsel.

                                                      3.

The professional services that said Special Counsel were to render included, but were not limited to:

        a)      Providing Debtor with legal services regarding Debtor's claims;

        b)      Preparing and prosecuting on Debtor's behalf the necessary applications, pleadings,
discovery, answers, orders and other legal papers required in the matter; and

        c) Performing all other legal services for Debtor which may be reasonably necessary to

pursue the claim(s).

                                                      4.

        Recently, Special Counsel negotiated a Settlement Agreement with the Defendants on behalf
of the Debtor as well as several other Plaintiffs. Please see Exhibit “A”.
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                                                   5.

        Because this case includes multiple plaintiffs, it is important that the Debtor has approval
before all plaintiffs can receive their portion of the Agreement.



        WHEREFORE, Debtor prays the Agreement be approved as stated.



  Dated: May 5, 2023                                    Respectfully submitted by:


                                                        /s/ Seth J. Meyerson
                                                        MEYERSON LAW
                                                        Attorney for the Debtor
                                                        Georgia Bar No. 583918
820 Ebenezer Church Rd.
Suite 105
Sharpsburg, GA, 30277
T: (678) 892-5910
E: smeyerson@meyerson-law.com
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                                  CERTIFICATE OF SERVICE
        I hereby certify that on the 5th day of May 2023, I electronically filed the forgoing Motion to
Approve Settlement Agreement with the Clerk of Court using CM/ECF system which will
automatically send an e-mail notification of such filing to the parties or attorneys or record. I have
also on this day caused a copy of the pleading to be placed in the first-class United States mail,
postage prepaid, addressed to the following recipients and the attached matrix not participating in the
CM/ECF system as follows:

       Micha L Rich
       951 Alloway Place SE
       Atlanta, GA 30334

       Nancy J. Whaley, Standing Ch. 13 Trustee
       Suite 120, Truist Plaza Garden Offices
       303 Peachtree Center Avenue
       Atlanta, GA 30303
       -electronic service-

       U.S. Trustee
       362 Richard B. Russell Building
       75 Ted Turner Dr., SW
       Atlanta, GA 30303

       Amanda Seals, Partner,
       Bondurant Mixson & Elmore LLP
       1201 West Peachtree Street, NW, Ste. 3900
       Atlanta, GA 30309

       See Matrix Attached

Date: May 5, 2023,                                      Respectfully submitted by:

                                                       /s/ Seth J. Meyerson
                                                       MEYERSON LAW
                                                       Attorney for the Debtor
                                                       Georgia Bar No. 583918
                                                       820 Ebenezer Church Rd.
                                                       Suite 105
                                                       Sharpsburg, GA, 30277
                                                       T: (678) 892-5910
                                                       E: smeyerson@meyerson-law.com
                      Exhibit "A"
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description whatsoever up to the present time, whether known or unknown, foreseen

or unforeseen, and including, but not limited to, all potential claims asserted or which

might have been asserted by or on behalf of Plaintiffs against the                     ,

Defendants, and all of their agents and/or officials and employees, administrators,

or former officials and employees as a result of their employment with Defendants,

or receipt of health benefits from the                              , including but not

limited to, their lawsuit as referenced in the case of Micha Rich, et al. v.

                 Civil Action File No.                  , in the Northern District of

Georgia, Atlanta Division (hereinafter “the Lawsuit”).

                                           3.

      This Agreement is a full and final release of all potential claims and it

specifically includes, but not by way of limitation, all claims asserted by or on behalf

of Plaintiffs against the                   , the Defendants, and all of their agents,

officials, employees and/or former employees, together with any and all claims

which might have been asserted by or on behalf of Plaintiffs in any suit, claim, or

grievance for or on account of any matter or things whatsoever through and including

the date of this Agreement. This Agreement includes, but not by way of limitation,

any claims, suits, causes of action or grievances Plaintiffs may possess against the

                  , the Defendants, and all of their agents and/or officials and

employees, administrators, or former officials and employees arising under



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       and                     ; the United States and State of Georgia Constitutions;

as well as any other of the several state and federal statutes relating to claims, suits,

causes of action or grievances for

                               , or any other potential theory of recovery.

                                           4.

      Plaintiffs represent and warrant that no one other than themselves are entitled

to assert any claims of any kind or character based on or arising out of and alleged

to have been suffered by them as a consequence of his or her                      and/or

relationship to date with Defendants.

                                           5.

      The terms and conditions set out herein are in compromise and settlement of

disputed claims, the validity, existence or occurrence of which is expressly denied

by Defendants. This Agreement shall not be construed as an admission by any party

of any liability or wrongdoing.

                                                6.

      As consideration for the mutual promises, covenants and agreements

contained herein, Defendants

                      shall pay to Plaintiffs the total amount of THREE-HUNDRED

SIXTY-FIVE THOUSAND DOLLARS ($365,000.00) (“the Settlement Amount”)



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within thirty (30) days of the execution by the parties or the parties’ designated

agent(s) for signature of this Agreement and its approval by the Bankruptcy Court

for the Middle District of Georgia. The Settlement Amount is to be paid in a lump

sum via check made payable to Plaintiffs’ counsel, Bondurant, Mixson, & Elmore,

LLP, and sent via overnight delivery to the following address: 1201 W. Peachtree

Street NW, Suite 3900, Atlanta, Georgia 30309. The Settlement Amount represents

the total amount to be paid by Defendants for any and all claimed damages, costs

and attorneys’ fees. 3

                                                 7.


       For the amounts specified in Paragraph 6 above, Defendants and/or

will issue IRS Form 1099s to each of Plaintiffs’ counsel and to each Plaintiff.

Defendants shall have no responsibility to pay taxes due on the Settlement Amount,

if any. Plaintiffs agree to defend, indemnify, and hold Defendants and

harmless from and against any and all third-party claims, together with any interest,

penalties, fines or sanctions, or other remedies assessed or imposed against

Defendants and              that arise out of or are related to Plaintiffs’ failure to pay any

taxes applicable to the settlement proceeds.

                                                 8.



3
 Of the Settlement Amount, SEVENTY THOUSAND DOLLARS ($70,000.00) is the total amount to be paid by to
Mr. Rich for any and all claimed damages as to him.


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                                          13.

      This Agreement supersedes all prior written and oral understandings,

promises, and agreements between the Plaintiffs and Defendants and may not be

altered, amended, or modified in any respect, except in writing, duly executed by all

the Parties.

                                          14.

      All agreements and understandings embodied and expressed in the terms of

this Agreement are contractual and are not mere recitals and this Agreement is made

and entered into in the State of Georgia, and shall in all respects be interpreted,

enforced, and governed under the laws of said State. The language of all parts of

this Agreement shall in all cases be construed as a whole, according to its fair

meaning, and not strictly for or against any of the Parties.

                                          15.

      Should any provision of this Agreement be declared or be determined by any

court to be illegal or invalid, the validity of the remaining parts, terms or provisions

shall not be affected thereby and said illegal or invalid part, term or provision shall

be deemed not to be part of this Agreement.

                                          16.

      This Agreement may be executed in multiple counterparts and all counterparts

shall constitute one agreement binding on each of the Parties hereto, regardless of



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Label Matrix for local noticing                      Amanda Seals. Esq. Page 15 of 16
                                                        Document                                          American Express National Bank
113E-1                                               Bondurant Mixson & Elmore, LLP                       c/o Becket and Lee LLP
Case 22-52126-jwc                                    1201 W Peachtree St NW                               PO Box 3001
Northern District of Georgia                         Suite 3900                                           Malvern PA 19355-0701
Atlanta                                              Atlanta, GA 30309-3417
Fri May 5 08:35:46 EDT 2023
Amex                                                 Bank of America                                      Bank of America, N.A.
Correspondence/Bankruptcy                            Attn: Bankruptcy                                     PO Box 673033
Po Box 981540                                        4909 Savarese Circle                                 Dallas, TX 75267-3033
El Paso, TX 79998-1540                               Tampa, FL 33634-2413


Bewell                                               (p)JPMORGAN CHASE BANK N A                           Citibank/The Home Depot
820 South Main St                                    BANKRUPTCY MAIL INTAKE TEAM                          Citicorp Credit Srvs/Centralized Bk dept
Saint Charles, MO 63301-3306                         700 KANSAS LANE FLOOR 01                             Po Box 790034
                                                     MONROE LA 71203-4774                                 St Louis, MO 63179-0034


(p)GEORGIA DEPARTMENT OF REVENUE                     Hyundai Capital America DBA Hyundai Motor Fi         Hyundai Motor Finance
COMPLIANCE DIVISION                                  P.O. Box 20809                                       Attn: Bankruptcy
ARCS BANKRUPTCY                                      Fountain Valley, CA 92728-0809                       Po Box 20829
1800 CENTURY BLVD NE SUITE 9100                                                                           Fountain Valley, CA 92728-0829
ATLANTA GA 30345-3202

JPMorgan Chase Bank, N.A.                            Seth J. Meyerson                                     (p)MOHELA
s/b/m/t Chase Bank USA, N.A.                         Meyerson Law, LLC                                    CLAIMS DEPARTMENT
c/o Robertson, Anschutz & Schneid, P.L.              Suite 105                                            633 SPIRIT DRIVE
6409 Congress Avenue, Suite 100                      820 Ebenezer Church Road                             CHESTERFIELD MO 63005-1243
Boca Raton, FL 33487-2853                            Sharpsburg, GA 30277-2073

(p)PORTFOLIO RECOVERY ASSOCIATES LLC                 Micha L Rich                                         Synchrony Bank/Lowes
PO BOX 41067                                         951 Alloway Place SE                                 Attn: Bankruptcy
NORFOLK VA 23541-1067                                Atlanta, GA 30316-2524                               Po Box 965060
                                                                                                          Orlando, FL 32896-5060


UNITED STATES DEPARTMENT OF EDUCATION                USDOE/GLELSI                                         Nancy J. Whaley
CLAIMS FILING UNIT                                   Attn: Bankruptcy                                     Nancy J. Whaley, Standing Ch. 13 Trustee
PO BOX 8973                                          Po Box 7860                                          Suite 120, Truist Plaza Garden Offices
MADISON, WI 53708-8973                               Madison, WI 53707-7860                               303 Peachtree Center Avenue
                                                                                                          Atlanta, GA 30303-1216



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Chase Card Services                                  Georgia Department of Revenue                        (d)Georgia Department of Revenue
Attn: Bankruptcy                                     Bankruptcy Section                                   Processing Center
P.O. 15298                                           1800 Century Blvd NE Ste 9100                        P. O. Box 740323
Wilmington, DE 19850                                 Atlanta, GA 30345                                    Atlanta, GA 30374


Mohela/SoFi                                          (d)Mohela/laurel Road Ban                            Portfolio Recovery Associates, LLC
633 Spirit Drive                                     Attn: Bankruptcy                                     POB 41067
Chesterfield MO 63005                                633 Spirit Dr                                        Norfolk VA 23541
                                                     Chesterfield, MO 63005
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Mailable recipients   20
Bypassed recipients    0
Total                 20
